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At SEATTLE

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UNITED STATES DisTRICT COURT - hs

WESTERN DISTRICT OF WASHINGTON STATE os Be oN

| MYRIAM-ZAYAS )
PLAINTIFF, ) a,
) NO. 20-cv-00747 JCC
) wads |
vs. ) Reply to Motion to Dismiss fron. Ann : it
ees fea Ch. tye: She eo Oe ply thie had do. Danieli | abe ho a
ANNETTE Messitt. : Gt ¥ os YO) rags Skauge fy l RERY ways ais Weep va
“ANN DANIEL), - SES the Se agabet Sanjaben ae gee ) nue
JEFFREY WHITNEY, - fe Spb OFS cascty aye pee wi SHY ie Be 8 aah Hout HIS E GOR ED eel stig ue
AMBER WHITNEY, . pitisssau: Bey os augdeny Coy 7
DAVID LARAUS, a Seat 2 i Maye Dap. pwadenc: ot pe et I pop etsge gif neaeedt codes" wens
PAULINE DUKE, »-.., : me ptton ona weds .
_dENNIE COWAN, . ent )
. . fg uo ), 2
” DEFENDANTS, ) i

"Plaintiff MYRIAM ZAYAS is self-représented sl would rabjiaatea’s sty that way,
however she: can not pay for her: PACER account right now. 80 would, lke to. switch back te ae
postal mail she « can not read the Motion to Dismiss submitted by” “fH Danish, ail’ parties ‘ile Be oS Moe

aware she is locked out of her PACER account and none have attempted to email her copies

of the Motion to Dismiss or any other documents then again its not their job to do that either.

no regrets, arld none of what ste has written is a lie, nor is it intended to mislead

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Wika.

iid ack” she has lost them all duet to corrupt state officials and not due to. child wo

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“get her cl

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abuse or neglect. Plaintiff has the proof, the emails to and from Annette Messitt from her

official court email where she attempts to “trick” the Plaintiff into believing she is Ann Danieli.
Ultimately of course the Plaintiff will make plenty of mistakes, she is not a lawyer so if they are

attempting to dismiss based on mistakes then sure they likely have a ton of mistakes, butnone. -
are as big as felony forgery. Which was and still is a crime against a s-year-old child. The only: :

other excuse would be an attempt to prove she works for King County Government who is the

employer that authorized their employees to commit and cover forgery: as: they pleasé:with Ry :

mo absolutely sk consequences. Instead they get away with calling the Plaintiff ‘delusional,
which she does not deny, and itis the state of Washington Child Protective Services fault for
her insanity. cps drove the car that took the Plaintiff to a mental state where she can not caine
back from. Dobs this mean she abused her child? No, if she had ona bunny rabbit suit, and a
crack pipe hanging out of her mouth, these judges still have no right removing her child unless

that child has been hurt by her period. Ann Danieli will not take the stand and say she ever met

the Plaintiff and if they quote any case law they can not because their has never been a case ne

like this in us history, where a judge, social worker, attorney general, and parents. attorney.
commit forgery to remove a child, forgery is “clearly established law” so that a reasonable

person would know, which would also bar any kind of immunity they are attempting to claim.

Case 2

CERTIFICAT

Under Federal Rule’
of my knowledge, in
presented for an im
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the factual contenti
will likely have evide
investigation or dis

:20-cv-00747-JCC. Document 41 Filed 12/28/20 Page 3 of 4

ION AND CLOSING

of Civil Procedure 11, by signing below, | certify to the best
formation, ard belief that this REPLY: (1) is not being

proper purpose, such as to harass, cause unnecessary delay,
ase the cost of litigation; (2) is supported by existing law or by
Iment for extending, modifying, or reversing existing law; (8)
ons have evidentiary support or, if specifically, so identified,
antiary support after a reasonable opportunity for further
covery; and (4) the REPLY otherwise complies with the

requirements of Rule 11.

Respectfully submitté a

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12/19/2020

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address also s

YRIAM ZAY,
. MYRIAM ZAYAS
PRINTED NAME:

Title: Pro Se Plaintiff

CERTIFICATE OF SERVICE
AM ZAYAS, do hereby certify that | have this day mailed, U.S. Mail Certified,
id, a true and correct copy of the above and foregoing to at the following - |

end an email to the email listed: ATTORNEY GENERAL state of

WASHINGTON,

THIS d

ate 12/19/2020.

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